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 6                      IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTICT OF ARIZONA
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10    IN RE: Bard IVC Filters Products             No. MDL 15-02641-PHX-DGC
11    Liability Litigation,
                                                   CASE MANAGEMENT ORDER NO. 49
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14          Pursuant to Case Management Order (“CMO”) No. 48 (Doc. 21740), the parties
15   have filed status reports identifying previously dismissed cases that are ripe for
16   reinstatement. Docs. 21750 at 2, 21776 at 2 & n.2. A number of cases were voluntarily
17   dismissed without prejudice and without being settled, the parties having entered into a
18   tolling agreement so they could continue settlement discussions outside the confines of this
19   MDL. See Doc. 21526 at 1-2. Some Plaintiffs in these cases have since opted out of the
20   proposed settlements. See id. Because CMO 42 – which governs the settlement process
21   in this MDL – does not permit cases that have failed to settle to be dismissed from the
22   MDL without prejudice only to be refiled as new cases, the Court has concluded that the
23   dismissal orders in these opt-out cases must be vacated and the cases reinstated in the MDL.
24   See Docs. 16343, 21527, 2154. After reinstatement, the cases will be remanded or
25   transferred to appropriate courts for further litigation consistent with the MDL of which
26   they have been a part. See Doc. 21740 at 2.
27          On January 27, 2021, a telephonic status hearing was held to address 217 dismissed
28   cases in which the Plaintiffs had not accepted or opted out of settlements. See id. at 3;
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 1   Doc. 21734 at 5-6. Of the 217 cases at issue, counsel state that thirteen Plaintiffs have
 2   accepted the settlement and four have chosen to opt-out. Doc. 21776 at 2. Plaintiffs in the
 3   remaining 200 cases either cannot be located, are not responding to counsel’s inquiries, are
 4   deceased with no known heirs, or have not yet made a decision on the offered settlements.
 5   Id. at 2-4.
 6          The Court will grant counsel’s request to continue until March 15, 2021 their efforts
 7   to locate, contact, and secure settlement decisions from these Plaintiffs. As stated on the
 8   record and agreed to by counsel for both sides, the Court will dismiss with prejudice any
 9   cases in which, by March 15, 2021, the Plaintiffs or their heirs cannot be located, the
10   Plaintiffs remain non-responsive, or the Plaintiffs fail to make a settlement decision. These
11   cases will be dismissed with prejudice for failure to prosecute. See Fed. R. Civ. P. 41(b).
12          IT IS ORDERED:
13          1.     The dismissal orders in the cases listed on Attachment A are vacated. The
14   Clerk is directed to reinstate each case in this MDL.
15          2.     Settlement decisions from the Plaintiffs in the remaining 200 dismissed
16   cases (see Doc. 21776) must be made by March 15, 2021.
17          3.     A telephonic hearing is set for March 19, 2021 at 2:00 p.m. Plaintiffs’
18   counsel shall file an updated status report, and provide the dial-in information for the
19   hearing to counsel for all parties and the Court, no later than 5:00 p.m. on March 17, 2021.
20          Dated this 1st day of February, 2021.
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